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1                                                 United States District Judge Richard A. Jones
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                            UNITED STATES DISTRICT COURT
11                         WESTERN DISTRICT OF WASHINGTON
12                                   AT SEATTLE

13                                    )
     MATTHEW DAVID SMITH,             )                CIVIL NO. 2:17-cv-00647-RAJ
14                                    )
15                 Plaintiff,         )                PROPOSED AMENDED ORDER FOR
                                      )                ATTORNEY'S FEES PURSUANT TO
16   vs.                              )                42 U.S.C. § 406(b)
                                      )
17
     COMMISSIONER OF SOCIAL SECURITY, )
18                                    )
                       Defendant.     )
19

20
            Having considered Plaintiff’s motion to amend the order of September 4, 2020.
21

22   The Court issues this amended order.

23          It is hereby ORDERED that Plaintiff’s attorney Amy Gilbrough is allowed an

24   attorney fee of $6,686.23, pursuant to 42 U.S.C. § 406(b). Plaintiff’s attorney received
25   fees under the Equal Access to Justice Act of $3,226.98. The net fee owed is $3,459.25.

     PROPOSED ORDER FOR ATTORNEY FEES                          Douglas Drachler McKee & Gilbrough, LLP
     PURSUANT TO 42 U.S.C. § 406(b) [2:17-cv-00647-RAJ]        1904 Third Ave. Suite 1030
                                                               Seattle, WA 98103
     -1                                                        (206) 623-0900
              Case 2:17-cv-00647-RAJ Document 28 Filed 10/19/20 Page 2 of 2




1    If the Social Security Administration is still withholding this amount, it is directed to
2    send this amount to Plaintiff’s attorney, Amy Gilbrough, minus any applicable fees
3    ordered by statute. If the Social Security Administration is no longer withholding any
4
     amount of the back award for fees, Plaintiff will send her attorney a fee of $3,459.25.
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            Dated this 19th day October, 2020.
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                                                       A
                                                       The Honorable Richard A. Jones
9                                                      United States District Judge

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     PROPOSED ORDER FOR ATTORNEY FEES                            Douglas Drachler McKee & Gilbrough, LLP
     PURSUANT TO 42 U.S.C. § 406(b) [2:17-cv-00647-RAJ]          1904 Third Ave. Suite 1030
                                                                 Seattle, WA 98103
     -2                                                          (206) 623-0900
